34 F.3d 1074
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Pedro PEREZ-HERNANDEZ, Defendant-Appellant.
    No. 93-10598.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 3, 1994.*Decided Aug. 12, 1994.
    
      Before:  WALLACE, Chief Judge, HUG and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Pedro Perez-Hernandez appeals his conviction and 24-month sentence, imposed following his plea of guilty to conspiracy to possess with intent to distribute 219 pounds of marijuana in violation of 21 U.S.C. Secs. 841(a)(1), 846.
    
    
      3
      Pursuant to  Anders v. California, 386 U.S. 738 (1967), Perez-Hernandez's counsel submitted a brief stating that he finds no meritorious issues for review.  Counsel also filed a motion to withdraw as counsel of record.  Our independent review of the record pursuant to  Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issue for review.  Accordingly, the motion of counsel to withdraw is GRANTED and the district court's judgment is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    